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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



UNITED STATES INSTITUTE OF PEACE, et al.,

                  Plaintiffs,

                                                          Case No. 1:25-cv-00804-BAH

        v.


 KENNETH JACKSON, et al.,

                 Defendants.


                    JOINT MOTION FOR EXPEDITED BRIEFING SCHEDULE

       On March 19, 2025, the Court directed the parties to jointly propose a schedule for

expedited summary judgment briefing. See Minute Orders of March 19, 2025. The Parties

respectfully propose, and request that the Court order, that the following schedule govern

proceedings in this case. Additionally, the parties propose that Defendants’ obligation to answer

Plaintiffs’ anticipated amended complaint be stayed pending further order of the Court.

                Plaintiffs’ Amended Complaint, if any: March 24, 2025
                Plaintiffs’ Motion for Summary Judgment: April 4, 2025
                Defendants’ Cross-Motion for Summary Judgment and Opposition to Plaintiffs’
                 Motion: April 11, 2025
                Plaintiffs’ Opposition to Defendants’ Cross-Motion and Reply in Support of their
                 Motion: April 18, 2025
                Defendants’ Reply in Support of Their Cross-Motion: April 25, 2025




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                                     Respectfully submitted,

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                                     District Court for the District of Columbia.
                                     Motion requesting permission to appear pro hac
                                     vice forthcoming.

                                     Counsel for Plaintiffs


                                     EDWARD R. MARTIN, JR., D.C. Bar #481866
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                                     By: /s/ Brian P. Hudak
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                                     Attorneys for the United States of America

Dated: March 20, 2025

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                                        CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of March, 2025, I caused the foregoing to be filed

electronically with the Clerk of the Court using CM/ECF, which will then send a notification of

such filing to all counsel of record.



                                              /s/ Andrew N. Goldfarb
                                              Andrew N. Goldfarb
                                              Counsel for Plaintiffs




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